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                                                                             L.B.F. 3015.1

                                                   UNITED STATES BANKRUPTCY COURT
                                               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 In re: Harris G Griffin                                                              Case No.: 19-12815
                                                                                      Chapter 13
                                            Debtor(s)

                                                                     MODIFIED Chapter 13 Plan

    Original

      MODIFIED

Date: August 16, 2021

                                                                THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                                 CHAPTER 13 OF THE BANKRUPTCY CODE

                                                                     YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these papers
carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN MUST FILE A
WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4. This Plan may be confirmed and become binding,
unless a written objection is filed.

                                               IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                                              MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                                           NOTICE OF MEETING OF CREDITORS.


 Part 1: Bankruptcy Rule 3015.1 Disclosures


                                 Plan contains nonstandard or additional provisions – see Part 9

                                 Plan limits the amount of secured claim(s) based on value of collateral – see Part 4

                                 Plan avoids a security interest or lien – see Part 4 and/or Part 9


 Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE

      § 2(a)(1) Initial Plan:
           Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”)
           Debtor shall pay the Trustee for 60 months; and
           Debtor shall pay the Trustee $       per month for         months.
         Other changes in the scheduled plan payment are set forth in § 2(d)

    § 2(a)(2) Amended Plan:
          Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $9,650.00
    The Plan payments by Debtor shall consists of the total amount previously paid ($6,250.00)
added to the new monthly Plan payments in the amount of $100.00 beginning August 1, 2021 and continuing for             34   months.
        Other changes in the scheduled plan payment are set forth in § 2(d)

    § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages (Describe source, amount and date
when funds are available, if known):

      § 2(c) Alternative treatment of secured claims:
              None. If “None” is checked, the rest of § 2(c) need not be completed.

                  Sale of real property

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             See § 7(c) below for detailed description

                Loan modification with respect to mortgage encumbering property:
             See § 4(f) below for detailed description

      § 2(d) Other information that may be important relating to the payment and length of Plan:

      § 2(e) Estimated Distribution

              A.         Total Priority Claims (Part 3)

                         1. Unpaid attorney’s fees                                                $                  2,640.00 + 1,000.00

                         2. Unpaid attorney’s cost                                                $                                 0.00

                         3. Other priority claims (e.g., priority taxes)                          $                                 0.00

              B.         Total distribution to cure defaults (§ 4(b))                             $                             3,077.63

              C.         Total distribution on secured claims (§§ 4(c) &(d))                      $                                62.73

              D.         Total distribution on unsecured claims (Part 5)                          $                             1,904.64

                                                                      Subtotal                    $                             8,685.00

              E.         Estimated Trustee’s Commission                                           $                                 10%

              F.         Base Amount                                                              $                             9,650.00

 Part 3: Priority Claims (Including Administrative Expenses & Debtor’s Counsel Fees)

             § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor agrees otherwise:

 Creditor                                                            Type of Priority                          Estimated Amount to be Paid
 Brad J. Sadek, Esquire                                              Attorney Fee                              $2,640.00 + $1,000.00 (supplemental fee)

             § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

                          None. If “None” is checked, the rest of § 3(b) need not be completed or reproduced.



 Part 4: Secured Claims

             § 4(a) ) Secured claims not provided for by the Plan

                          None. If “None” is checked, the rest of § 4(a) need not be completed or reproduced.
                           Creditor                                                         Secured Property

                            X If checked, debtor will pay the creditor(s) listed below directly   4161 Stirling Street Philadelphia, PA 19135
                            in accordance with the contract terms or otherwise by                 Philadelphia County
                            agreement.
                            Penny Mac Loan Services                                               Debtor has received a loan modification. Trustee
                                                                                                  shall make no more payments on this claim.

             § 4(b) Curing Default and Maintaining Payments

                          None. If “None” is checked, the rest of § 4(b) need not be completed.

         The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor shall pay directly to creditor
monthly obligations falling due after the bankruptcy filing in accordance with the parties' contract.


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 Creditor                      Description of Secured Current Monthly                   Estimated            Interest Rate   Amount to be Paid to Creditor
                               Property and Address, Payment to be paid                 Arrearage            on Arrearage,   by the Trustee
                               if real property       directly to creditor                                   if applicable
                                                      by Debtor                                              (%)
                               2012 Jeep Grand
                               Cherokee 92000                                           Prepetition:
 Ally Financial                miles                  Paid Directly                               $ 259.77                                               $259.77
                                                                                                                                                        $2,817.86

                                                                                                                                Debtor has received a loan
                               4161 Stirling Street                                                                             modification. Trustee shall
 Pennymac Loan                 Philadelphia, PA                                         Prepetition:                           make no more payments on
 Services                      19135                                 Paid Directly             $ 6,995.40                                       this claim.

          § 4(c) Allowed Secured Claims to be paid in full: based on proof of claim or pre-confirmation determination of the amount, extent
or validity of the claim

                                        (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion

                          of payments under the plan.

                                        (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to

                          determine the amount, extent or validity of the allowed secured claim and the court will make its determination

                          prior to the confirmation hearing.

                                        (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general

                          unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.

                                        (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.

                          § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different

                          interest rate or amount for “present value” interest in its proof of claim or otherwise disputes the amount provided for
                          “present value” interest, the claimant must file an objection to confirmation.

                                   (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and
                          release the corresponding lien.

                                                                 Description of
                            Name of Creditor                     Secured Property           Allowed          Present     Dollar Amount          Total
                                                                 and Address, if real       Secured          Value       of Present             Amount to
                                                                 property                   Claim            Interest    Value Interest         be paid
                                                                                                             Rate
                            Water Revenue                        Residence                  $62.73                                              $62.73
                            Bureau

             § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506

                          None. If “None” is checked, the rest of § 4(d) need not be completed.

             § 4(e) Surrender

                          None. If “None” is checked, the rest of § 4(e) need not be completed.

             § 4(f) Loan Modification

                  None. If “None” is checked, the rest of § 4(f) need not be completed.


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 Part 5:General Unsecured Claims

             § 5(a) Separately classified allowed unsecured non-priority claims

                          None. If “None” is checked, the rest of § 5(a) need not be completed.

             § 5(b) Timely filed unsecured non-priority claims

                           (1) Liquidation Test (check one box)

                                             All Debtor(s) property is claimed as exempt.

                                             Debtor(s) has non-exempt property valued at $ 247.55 for purposes of § 1325(a)(4) and plan provides for
                                             distribution of $2,887.55 to allowed priority and unsecured general creditors.

                           (2) Funding: § 5(b) claims to be paid as follows (check one box):

                                             Pro rata

                                             100%

                                             Other (Describe)

 Part 6: Executory Contracts & Unexpired Leases

                          None. If “None” is checked, the rest of § 6 need not be completed or reproduced.

 Part 7: Other Provisions

             § 7(a) General Principles Applicable to The Plan

             (1) Vesting of Property of the Estate (check one box)

                               Upon confirmation

                               Upon discharge

           (2) Subject to Bankruptcy Rule 3012, the amount of a creditor’s claim listed in its proof of claim controls over any contrary amounts listed
in Parts 3, 4 or 5 of the Plan.

           (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)(1)(B), (C) shall be disbursed
to the creditors by the debtor directly. All other disbursements to creditors shall be made to the Trustee.

          (4) If Debtor is successful in obtaining a recovery in personal injury or other litigation in which Debtor is the plaintiff, before the
completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a special Plan payment to the
extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor or the Trustee and approved by the court..

             § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s principal residence

             (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as provided for by
the terms of the underlying mortgage note.

           (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding the imposition
of late payment charges or other default-related fees and services based on the pre-petition default or default(s). Late charges may be assessed on
post-petition payments as provided by the terms of the mortgage and note.

          (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor pre-petition, and the Debtor
provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume sending customary monthly statements.

           (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon books for payments prior to the
filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this case has been filed.
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             (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.

             § 7(c) Sale of Real Property

                  None. If “None” is checked, the rest of § 7(c) need not be completed.

 Part 8: Order of Distribution

             The order of distribution of Plan payments will be as follows:

             Level 1: Trustee Commissions*
             Level 2: Domestic Support Obligations
             Level 3: Adequate Protection Payments
             Level 4: Debtor’s attorney’s fees
             Level 5: Priority claims, pro rata
             Level 6: Secured claims, pro rata
             Level 7: Specially classified unsecured claims
             Level 8: General unsecured claims
             Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to exceed ten (10) percent.

 Part 9: Nonstandard or Additional Plan Provisions

Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part 1 of this Plan is checked.
Nonstandard or additional plan provisions placed elsewhere in the Plan are void.

           None. If “None” is checked, the rest of § 9 need not be completed.

 Part 10: Signatures

          By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or additional
provisions other than those in Part 9 of the Plan.

 Date:       August 16, 2021                                                        /s/ Brad J. Sadek, Esquire
                                                                                    Brad J. Sadek, Esquire
                                                                                    Attorney for Debtor(s)




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